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                           UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 18-60403-CIV-MOORE/SNOW

       ABS-CBN CORPORATION, et al.,

                    Plaintiffs,
       vs.

       ANGPROBINSYANO1.COM, et al.,

                    Defendants.

                                                      /

                                  REPORT AND RECOMMENDATION

             THIS CAUSE is before the Court upon Plaintiffs, ABS-CBN Corporation’s, ABS-CBN

   Film Productions, Inc.’s, and ABS-CBN International’s Motion for Preliminary Injunction (ECF

   No. 15), which was referred to United States Magistrate Judge Lurana S. Snow (ECF No. 21) for

   a Report and Recommendation. The undersigned has carefully considered the Motion, the record

   in the case, and the applicable law, and is otherwise fully advised. By the instant Motion, Plaintiffs,

   ABS-CBN Corporation, ABS-CBN Film Productions, Inc., and ABS-CBN International, move for

   an entry of preliminary injunction against Defendants,1 for alleged violations of the Lanham Act,

   15 U.S.C. §§ 1114 and 1125(a).

             The undersigned held a hearing on July 12, 2018, which was attended by counsel for

   Plaintiff only. During the hearing, Plaintiff directed the undersigned to evidence supporting the

   Motion for Preliminary Injunction. Defendants have not formally responded to the Application for

   Preliminary Injunction, nor have they made any appearance or filing in this case, either




   1
    Defendants are the individuals, partnerships, and unincorporated associations identified on
   Schedule “A” hereto.
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   individually or through counsel. Because Plaintiff has satisfied the requirements for the issuance

   of a preliminary injunction, the Court should grant the Motion for Preliminary Injunction.

       I.    BACKGROUND2

             Plaintiff ABS-CBN International, is the owner of the following trademarks which are valid

   and registered on the Principal Register of the United States Patent and Trademark Office (the

   “ABS-CBN Registered Marks”):

                         Registration      Registration
            Trademark     Number              Date                      Class/Services
                                                             IC 036 – telephone calling card
                                                             services

                                                             IC 038 – Television broadcasting
            ABS-CBN        2,334,131      March 28, 2000     services via satellite and cable
                                                             IC 038 – Television broadcasting
                                                             services via satellite and cable

                                                             IC 041 – Production and
                                                             programming of television shows,
                                                             entertainment and a variety of
                                                             programming distributed over
                                                             television, satellite and via a global
              TFC          3,733,072        Jan. 5, 2010     computer network


             See Declaration of Elisha J. Lawrence in Support of Application for Preliminary Injunction

   (“Lawrence Decl.”) ¶¶ 4-5. The ABS-CBN Registered Marks are used in connection with the

   creation and distribution of entertainment content in the categories identified above. Id.

             Plaintiff ABS-CBN International is further the owner of all rights in and to the following

   common law trademark (the “ABS-CBN Common Law Mark”):




   2
    The facts herein are taken from Plaintiffs’ Complaint (ECF No. 1) and Plaintiffs’ Motion for
   Preliminary Injunction (ECF No. 15).
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                                             Trademark




          See Lawrence Decl. ¶ 6. The ABS-CBN Common Law Mark is used in connection with

   the creation and distribution of entertainment content. Id. Together, the ABS-CBN Registered

   Marks and the ABS-CBN Common Law Mark are referred to as the “ABS-CBN Marks.” Plaintiffs

   ABS-CBN Corporation, ABS-CBN Film Productions, Inc., and ABS-CBN International share

   exclusive rights in and to the ABS-CBN Marks. Moreover, ABS-CBN Corporation, ABS-CBN

   Film Productions, Inc., and ABS-CBN International are all licensed to use and enforce the ABS-

   CBN Marks. Id.

          Plaintiff ABS-CBN Film Productions, Inc. is the owner of the registered copyright in and

   to the movie specifically identified in Exhibit 2 to the Complaint [ECF No. 1-3]. Moreover,

   Plaintiff ABS-CBN Corporation is the owner of many unregistered copyrights, including but not

   limited to those specifically identified in paragraph 26 of the Complaint and in Exhibit 3 thereto

   [ECF No. 1-4]. See Lawrence Decl. ¶ 4. Collectively, these registered and unregistered copyrighted

   works are referred to herein as the “Copyrighted Works.” ABS-CBN Corporation, ABS-CBN Film

   Productions, and ABS-CBN International all share exclusive rights in and to the Copyrighted

   Works. Id.

          Defendants, by operating their entertainment content distribution network via the Internet

   websites operating under the domain names identified on Schedule “A” hereto (the “Subject

   Domain Names”) have advertised, promoted, distributed and performed Plaintiffs’ Copyrighted

   Works under infringements of the ABS-CBN Marks. See Lawrence Decl. ¶¶ 12-15.


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          Plaintiffs recently learned of Defendants’ potential unauthorized advertisement,

   promotion, distribution and performance of Plaintiffs’ Copyrighted Works for instant streaming

   under infringements of the ABS-CBN trademarks. Plaintiffs allege that Defendants conduct these

   infringing activities through the Internet websites operating under the Subject Domain Names. As

   part of Plaintiffs’ ongoing investigation regarding the infringement of its intellectual property,

   Stephen M. Gaffigan, P.A., on behalf of Plaintiffs, performed an investigation into the advertising

   accounts used by Defendants. See Declaration of Christine Ann Daley in Support of Application

   for Preliminary Injunction (“Daley Decl.”) ¶ 5.

          Stephen M. Gaffigan, P.A. inspected the Hyper Text Markup Language (“html”) Source

   Code for the Internet websites operating under the Subject Domain Names3 and was able to

   specifically locate and identify many of the advertising revenue accounts of the Defendants, which

   are identified on Schedule B. See Daley Decl. ¶ 5 and Exhibit 3 thereto. Additionally, through a

   detailed inspection of the data provided by CloudFlare, Inc., in connection with ABS-CBN’s

   subpoena issued upon it, as permitted by the Order Granting Plaintiffs’ Ex Parte Motion to Take

   Expedited Discovery (ECF No. 11), Plaintiffs discovered certain PayPal, Inc. (“PayPal”) accounts

   associated with the payment information for CloudFlare’s services for certain Defendants;

   specifically, “atturrehman2200@gmail.com” for Defendant Numbers 28 and 29, pinoytv.ae and




   3
    The Subject Domain Names angprobinsyano1.com jhurlo.net, kshowengsub.com, pariwiki.me,
   pinoytambayan.co.uk, pinoytambayanlive.com, and pinoytvreplayph.com use the supporting
   domain names comhome.xyz, shahmeer1.ga, pinoyhome1.tk, irfansb.ml, leli.online,
   asifshabbir.ga, and fullreplayepisodes.net, respectively, to frame advertisements on the Subject
   Domain Names, which is believed to be done to avoid violating the terms and services agreement
   of their advertising companies for infringing Plaintiffs’ and others’ trademarks and copyrights.
   Such framing is illustrated and the relevant portions of the html source code of each afore-
   mentioned domain is also highlighted in Exhibit 3 to the Daley Decl. See Daley Decl. ¶ 5 n. 4.
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   thepinoy1tv.net, respectively, and “minhphung.ads@gmail.com” for Defendant Number 8,

   pinoyako.su. See Daley Decl. ¶ 7. 4

          Plaintiffs’ representative, Elisha J. Lawrence, reviewed the websites operating under the

   Subject Domain Names and/or detailed captures of the web pages thereof, and determined that the

   distribution services offered by Defendants were not genuine or authorized distribution services of

   Plaintiffs’ Copyrighted Works. See Lawrence Decl. ¶¶ 12-15. Defendants are not now, nor have

   they ever been, authorized or licensed to use, reproduce, or make counterfeits, reproductions, or

   colorable imitations of the of the ABS-CBN Marks and/or perform or distribute the Copyrighted

   Works. See Lawrence Decl. ¶¶ 12-15.

          On February 23, 2018, Plaintiff filed its Complaint (ECF No. 1) against Defendants for

   federal trademark counterfeiting and infringement, false designation of origin, common law unfair

   competition, and common law trademark infringement. On May 24, 2018, Plaintiff filed its Ex

   Parte Application for Entry of Temporary Restraining Order, Preliminary Injunction, and Order

   Restraining Transfer of Assets (ECF No. 15). On July 3, 2018, the Court issued an Order Granting

   Plaintiff’s Ex Parte Application for Entry of Temporary Restraining Order Without Notice and

   Order Restraining Transfer of Assets (the “TRO”) and temporarily restrained Defendants from

   infringing the TOMS Marks at issue (ECF No. 20). Pursuant to the Court’s Pursuant to the Court’s

   TRO, Plaintiffs provided the Defendants with notice of the Plaintiffs’ Ex Parte Application for

   Entry of Temporary Restraining Order, Preliminary Injunction, and Order Restraining Transfer of

   Assets and copies of the Court’s July 3, 2018 TRO and the Court’s July 3, 2018 Order Setting




   4
     Additionally, included on Schedule “B” are Defendants’ associated e-mail addresses, as
   identified in the WHOIS records, as well as any associated PayPal accounts or e-mail addresses
   provided by CloudFlare.
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   Hearing on Motion for Preliminary Injunction on July 5, 2018 via electronic mail and via

   publication (see ECF Nos. 27, 28, 29).

   II.    LEGAL STANDARD

          To obtain a preliminary injunction, a party must demonstrate (1) a substantial likelihood of

   success on the merits; (2) that irreparable injury will be suffered unless the injunction issues; (3)

   the threatened injury to the movant outweighs whatever damage the proposed injunction may cause

   the opposing party; and (4) if issued, the injunction would not be adverse to the public interest in

   order to obtain injunctive relief. Four Seasons Hotels and Resorts, B.V. v. Consorcio Barr, S.A.,

   320 F.3d 1205, 1210 (11th Cir. 2003); McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1306 (11th

   Cir. 1998).

   III.   ANALYSIS

          Plaintiffs have produced evidence that demonstrates there is probable cause that consumers

   are likely to be confused by Defendants’ advertisement, promotion, distribution and public

   performance of the Copyrighted Works using counterfeits, reproductions, and/or colorable

   imitations of the ABS-CBN Marks, and that the services Defendants are offering and promoting

   are unauthorized distribution services using the ABS-CBN Marks. Because of the infringement of

   the ABS-CBN Marks and Copyrighted Works, Plaintiffs are likely to suffer immediate and

   irreparable injury if a preliminary injunction is not granted for the following reasons: (a)

   Defendants own or control Internet website operating under the Subject Domain Names which

   serve as content distribution services which advertise, promote, offer for distribution, and publicly

   perform Plaintiffs’ Copyrighted Works using counterfeit and infringing trademarks in violation of

   Plaintiffs’ rights; (b) there is good cause to believe that more distribution services of copyrighted

   content under counterfeit and infringing versions of Plaintiffs’ trademarks will appear in the

   marketplace; that consumers are likely to be misled, confused, or disappointed by the quality of
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   these services; Plaintiffs may suffer loss of sales for their genuine services and an unnatural erosion

   of the legitimate marketplace in which they operate; and (c) the balance of potential harm to

   Defendants in restraining their trade in counterfeit and infringing branded goods if a preliminary

   injunction is issued is far outweighed by the potential harm to Plaintiffs, their reputations, and their

   goodwill as creators and distributors of quality entertainment content, if such relief is not issued;

   and (d) the public interest favors issuance of the preliminary injunction to protect Plaintiffs’

   intellectual property interests and protect the public from being defrauded by the palming off of

   counterfeit services as genuine services of Plaintiffs. Under 15 U.S.C. § 1117(a) and 17 U.S.C. §

   504(a)(b), Plaintiffs may be entitled to recover, as an equitable remedy, the illegal profits gained

   through Defendants distribution of pirated versions of Plaintiffs’ Copyrighted Works under

   counterfeits and infringements of the ABS-CBN Marks. See Reebok Int’l, Ltd. v. Marnatech

   Enters., Inc., 970 F.2d 552, 559 (9th Cir. 1992) (quoting Fuller Brush Products Co. v. Fuller Brush

   Co., 299 F.2d 772, 777 (7th Cir. 1962) (“An accounting of profits under § 1117(a) is not

   synonymous with an award of monetary damages: ‘[a]n accounting for profits . . . is an equitable

   remedy subject to the principles of equity.’”)). Requesting equitable relief “invokes the district

   court’s inherent equitable powers to order preliminary relief, including an asset freeze, in order to

   assure the availability of permanent relief.” Levi Strauss & Co. v. Sunrise Int’l Trading Inc., 51

   F.3d 982, 987 (11th Cir. 1995) (citing Federal Trade Commission v. United States Oil and Gas

   Corp., 748 F.2d 1431, 1433-34 (11th Cir. 1984)). In light of the inherently deceptive nature of the

   online piracy business, and Defendants’ apparent violation of the federal trademark and copyright

   laws, there is good reason to believe Defendants will hide or transfer assets beyond the jurisdiction

   of this Court unless those assets are restrained.




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   IV.    CONCLUSION

          Accordingly, it is RECOMMENDED that Plaintiffs, ABS-CBN Corporation’s, ABS-CBN

   Film Productions, Inc.’s, and ABS-CBN International’s Motion for Preliminary Injunction (ECF

   No. 15) be GRANTED and a Preliminary Injunction be entered as follows:

          1.      Each Defendant, its officers, directors, employees, agents, subsidiaries,

   distributors, and all persons in active concert or participation with any Defendant having notice of

   this Order are hereby restrained and enjoined, until further Order of this Court:

               a. advertising, promoting, copying, broadcasting, publicly performing, and/or
                  distributing any of the Plaintiffs’ content or copyrighted works; and

               b. advertising, promoting, offering, distributing, using, and/or causing to be
                  advertised, promoted, offered and/or distributed, any services using the ABS-CBN
                  Marks, or any confusingly similar trademarks, other than those actually offered or
                  distributed by Plaintiffs; and

               c. secreting, concealing, destroying, selling off, transferring, or otherwise disposing
                  of: (i) any evidence relating to the promotion, advertisement, and/or distribution of
                  services or copyrighted content under the ABS-CBN Marks, or any confusingly
                  similar trademarks or public performances or distributions of Plaintiffs’
                  Copyrighted Works.

          2.      Each Defendant, its officers, directors, employees, agents, subsidiaries,

   distributors, and all persons in active concert or participation with any Defendant having notice of

   this Order shall immediately discontinue, until further Order of this Court, the use of the ABS-

   CBN Marks or any confusingly similar trademarks, on or in connection with all Internet websites,

   social media profiles, domain names, or businesses owned and operated, or controlled by them,

   including but not limited to the Internet websites operating under the Subject Domain Names;

          3.      Each Defendant, its officers, directors, employees, agents, subsidiaries,

   distributors, and all persons in active concert or participation with any Defendant having notice of

   this Order shall immediately discontinue, until further Order of this Court, the use of the ABS-

   CBN Marks, or any confusingly similar trademarks within domain name extensions, metatags or
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   other markers within website source code, from use on any webpage (including the title of any

   web page), from any advertising links to other websites, from search engines’ databases or cache

   memory, and any other form of use of such terms that are visible to a computer user or serves to

   direct computer searches to websites registered, owned, or operated by each Defendant, including

   the Internet websites operating under the Subject Domain Names;

          4.      Defendants shall not transfer ownership of the Internet websites under their Subject

   Domain Names during the pendency of this Action, or until further Order of the Court;

          5.      Each Defendant shall preserve, and continue to preserve, copies of all computer

   files relating to the use of any of the Internet websites under their Subject Domain Names and shall

   take all steps necessary to retrieve computer files relating to the use of the Internet websites under

   their Subject Domain Names that may have been deleted before the entry of this Order;

          6.      The domain name Registrars for the Subject Domain Names are directed, to the

   extent not already done, to transfer to Plaintiffs’ counsel, for deposit with this Court, domain name

   certificates for the Subject Domain Names;

          7.      Upon Plaintiffs’ request, the privacy protection service for any Subject Domain

   Name for which the Registrant uses such privacy protection service to conceal the Registrant’s

   identity and contact information are ordered, to the extent not already done, to disclose to Plaintiffs

   the true identities and contact information of those Registrants;

          8.      The domain name Registrars for the Subject Domain Names shall immediately, to

   the extent not already done, assist in changing the Registrar of record for the Subject Domain

   Names to a holding account with a registrar of Plaintiffs’ choosing (the “New Registrar”),

   excepting any such domain names which such Registrars have been notified in writing by Plaintiffs

   have been or will be dismissed from this action, or as to which Plaintiffs have withdrawn their

   request to immediately transfer such domain names. To the extent the Registrars do not assist in
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   changing the Registrars of record for the domains under their respective control within one (1)

   business day of receipt of this Order, the top-level domain (TLD) Registries, for the Subject

   Domain Names, or their administrators, including backend registry operators or administrators,

   within five (5) business days of receipt of this Order, shall change, or assist in changing, the

   Registrar of record for the Subject Domain Names to a holding account with the New Registrar,

   excepting any such domain names which such Registries have been notified in writing by Plaintiffs

   have been or will be dismissed from this action, or as to which Plaintiffs have withdrawn their

   request to immediately transfer such domain names. Upon the change of the Registrar of record

   for the Subject Domain Names, the New Registrar will maintain access to the Subject Domain

   Names in trust for the Court during the pendency of this action. Additionally, the New Registrar

   shall immediately institute a temporary 302 domain name redirection which will automatically

   redirect any visitor to the Subject Domain Names to the following Uniform Resource Locator

   (“URL”) http://servingnotice.com/BG4NJS0/index.html whereon copies of the Complaint, this

   Order, and all other documents on file in this action are displayed. Alternatively, the New Registrar

   may update the Domain Name System (“DNS”) data it maintains for the Subject Domain Names,

   which link the domain names to the IP addresses where their associated websites are hosted, to

   NS1.MEDIATEMPLE.NET and NS2.MEDIATEMPLE.NET, which will cause the domain names

   to resolve to the website where copies of the Complaint, this Order, and all other documents on

   file in this action are displayed. After the New Registrar has effected this change, the Subject

   Domain Names shall be placed on lock status, preventing the modification or deletion of the

   domains by the New Registrar or Defendants;

          9.      Upon receipt of notice of this Order, Defendants and the advertising services,

   networks and/or platforms identified on Schedule B hereto (the “Advertising Services”), and all

   financial institutions, payment processors, banks, escrow services, and/or money transmitters,
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   including but not limited to PayPal, Inc. (“PayPal”),5 and their related companies and affiliates,

   shall immediately, to the extent not already done, identify and restrain all funds, as opposed to

   ongoing account activity, in the advertising or PayPal accounts related to Defendants, and their

   associated payment accounts and e-mail addresses, as identified on Schedule B hereto, as well as

   all funds in or which are transmitted into (i) any other accounts of the same customer(s); (ii) any

   other accounts which transfer funds into the same financial institution/advertising account(s),

   and/or any of the other accounts subject to this Order; and (iii) any other accounts tied to or used

   by any of the Subject Domain Names identified on Schedule B hereto;

            10.   Defendants and the Advertising Services as identified on Schedule B hereto, and

   all financial institutions, payment processors, banks, escrow services, money transmitters, or

   marketplace platforms, including but not limited to PayPal, shall also immediately, to the extent

   not already done, divert to a holding account for the trust of the Court all funds in all associated

   payment, PayPal, or advertising accounts related to Defendants and the associated e-mail addresses

   and Subject Domain Names identified on Schedule B hereto, and any other accounts of the same

   customer(s) as well as any other accounts which transfer funds into the same advertising/financial

   institution account(s) as any of the other advertising accounts or PayPal accounts subject to this

   Order;

            11.   Defendants and all advertising services, financial institutions, payment processors,

   banks, escrow services, money transmitters, or marketplace platforms, including but not limited to

   PayPal and the Advertising Services identified on Schedule B hereto, shall further, to the extent

   not already done, provide Plaintiffs’ counsel with all data that details (i) an accounting of the total




   5
     PayPal is licensed to do business in the State of Florida by the Florida Office of the Controller
   and is therefore subject to personal jurisdiction in this Court. See Daley Decl. ¶ 8 and Exhibit 4
   thereto.
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   funds restrained and identifies the financial/advertising account(s) which the restrained funds are

   related to, and (ii) the account transactions related to all funds transmitted into the

   financial/advertising account(s) which have been restrained. Such restraining of the funds and the

   disclosure of the related financial institution account information shall be made without notice to

   the account owners or the financial institutions until after those accounts are restrained. No funds

   restrained by this Order shall be transferred or surrendered by the advertising services/financial

   institutions for any purpose (other than pursuant to a chargeback made pursuant to the advertising

   services’ or financial institutions’ security interest in the funds) without the express authorization

   of this Court;

           12.      This Order shall apply to the Subject Domain Names, associated websites, and any

   other domain names, websites, and/or advertising, PayPal, or payment accounts which are being

   used by Defendants for the purpose of infringing the ABS-CBN Marks or Copyrighted Works at

   issue in this action and/or unfairly competing with Plaintiffs;

           13.      Any Defendant, advertising account holder, or financial institution account holder

   subject to this Order may petition the Court to modify the asset restraint set out herein;

           14.      As a matter of law, the Order shall no longer apply to any Defendant or associated

   Subject Domain Name dismissed from this action or as to which Plaintiffs have withdrawn their

   request for a Preliminary Injunction;

           15.      Pursuant to 15 U.S.C. § 1116(d)(5)(D) and Fed. R. Civ. P. 65(c), Plaintiffs shall

   maintain its previously posted bond in the amount of Ten Thousand Dollars and Zero Cents

   ($10,000.00), as payment of damages to which Defendants may be entitled for a wrongful

   injunction or restraint, during the pendency of this action, or until further Order of the Court. In

   the Court’s discretion, the bond may be subject to increase should an application be made in the

   interest of justice;
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          16.       Additionally, for the purpose of providing additional notice of this proceeding, and

   all other pleadings, orders, and documents filed herein, the owners, operators and/or administrators

   of the advertising services or financial institutions, including but not limited to the Advertising

   Services identified on Schedule B and PayPal, Inc., shall, to the extent not already done, at

   Plaintiffs’ request, provide Plaintiffs’ counsel with any e-mail address known to be associated with

   Defendants’ respective Seller IDs.

          17.       This Order shall remain in effect during the pendency of this action, or until such

   further date as set by the Court or stipulated to by the parties.

          The parties will have fourteen (14) days from the date of being served with a copy of this

   Report and Recommendation within which to file written objections, if any, with the Honorable

   K. Michael Moore, United States Chief District Judge. Failure to file objections shall bar parties

   from a de novo determination by the Chief District Judge of an issue covered in the Report and

   shall bar from attacking on appeal unobjected-to factual and legal conclusions contained therein,

   except upon grounds of plain error if necessary in the interest of justice. See 28 U.S.C. § 636(b)(1);

   Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson, 885 F.2d 790, 794 (1989); 11th Cir.

   R. 3-1 (2016).

          DONE AND SUBMITTED at Fort Lauderdale, Florida, this 12th day of July, 2018




   Copies to:
      All Counsel of Record and Pro Se Parties




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                               SCHEDULE A
              DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                         Def. No.        Subject Domain Name
                                1   angprobinsyano1.com
                                1   pinoytambayanlive.com
                                1   jhurlo.net
                                2   filpinochannel.com
                                3   kshowengsub.com
                                4   lambingantv.net
                                5   magtvnatambayan.com
                                6   pariwiki.me
                                7   pinoy.live
                                8   pinoyako.su
                                9   pinoybay.se
                               10   pinoy-channel.net
                               11   pinoy-channel.org
                               12   pinoychannelakos.com
                               12   pinoychanneltv.su
                               13   pinoychannelhd.org
                               14   pinoychannelreplay.com
                               15   pinoymoviepedia.su
                               15   pinoymoviepedia.co
                               16   pinoytambayan.co.uk
                               17   pinoytambayanhd.su
                               18   pinoyteleseryetambayan.com
                               19   pinoytva.su
                               19   pinoyofw.su
                               19   pinoybay.su
                               20   pinoytvhdreplay.me
                               20   pinoytvshowsonline.com
                               21   pinoytvreplayph.com
                               22   pinoytvs.com
                               23   pinoytvshows.me
                               24   pinoytvshows.mobi
                               25   tagalogshows.com
                               26   teleseryeph.com
                               27   yonipzone.online
                               28   pinoytambayanreplay.me
                               28   pinoytv.ae
                               28   pinoytv4u.com
                               28   thepinoychannel.me

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                         Def. No.        Subject Domain Name
                               28   pinoytambayanhd.me
                               28   pinoytambayanteleserye.net
                               29   pinoytvofw.com
                               29   thepinoy1tv.net
                               29   thepinoyflix.com
                               29   pinoychannelgma.com
                               29   pinoytvvideo.com
                               29   ika6nautos.com
                               29   pinoytambayanlambingan.com
                               29   pinoytvofw.net
                               29   pinoy1tvs.com
                               29   thepinoyflix.net
                               30   bilisdrama.com
                               31   lambingan.ae
                               31   pinoylambingan.su
                               32   pinoychannels.su
                               32   pinoychannelhd.su
                               33   pinoytambayantvs.com




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                             SCHEDULE B
   DEFENDANTS BY NUMBER, SUBJECT DOMAIN NAME, ADVERTISING ACCOUNT
    INFORMATION, AND ASSOCIATED E-MAIL ADDRESSES/PAYPAL ACCOUNTS

                                   Advertising                        Associated E-mail Addresses
    Def.        Subject              Service/            Account                   or
    No.       Domain Name           Platform             Identifier        PayPal Accounts
                                   Google
         angprobinsyano1.com       DoubleClick     div-gpt-ad-        fiazrasool05@gmail.com
       1 (frames comhome.xyz)      Google LLC      1519886618392-0    waseykhan86@gmail.com
                                   Google
         jhurlo.net                DoubleClick     div-gpt-ad-        fiazrasool05@gmail.com
       1 (frames shahmeer1.ga)     Google LLC      1524291924009-0    waseykhan86@gmail.com
                                   Google
         pinoytambayanlive.com     DoubleClick     div-gpt-ad-        fiazrasool05@gmail.com
       1 (frames asifshabbir.ga)   Google LLC      1524228537023-0    waseykhan86@gmail.com

                                                                      tajumalhussain@gmail.com
       2 filpinochannel.com        N/A             N/A                playserialsonline@gmail.com
         kshowengsub.com           Google                             dolceamorehd@gmail.com
         (frames                   AdSense,        div-gpt-ad-        rizwan_manzoor007@yahoo.co
       3 pinoyhome1.tk)            Google LLC      1522002949960-0    m
                                   Google
                                   AdSense,        ca-pub-
       4 lambingantv.net           Google LLC      5682522598930729   qaisranipb@gmail.com
                                   Google
                                   AdSense,        ca-pub-
       5 magtvnatambayan.com       Google LLC      7047769716667526   jepoyccr@gmail.com
                                   Google
         pariwiki.me               DoubleClick     div-gpt-ad-
       6 (frames irfansb.ml)       Google LLC      1512487411474-0    media3k.com@gmail.com
                                                                      rizwan_manzoor007@yahoo.co
                                                                      m
       7 pinoy.live                N/A             N/A                rizwan6464876@gmail.com
                                                                      pinoyako.su@gmail.com
                                   Taboola                            minhphung.ads@gmail.com
       8 pinoyako.su               Taboola, Inc.   canhan             tambayandottv@gmail.com
                                   Google                             pinoyako.su@gmail.com
                                   AdSense,        ca-pub-            minhphung.ads@gmail.com
       8 pinoyako.su               Google LLC      3051364682657902   tambayandottv@gmail.com
       9 pinoybay.se               N/A             N/A                admin@pinoybay.se
                                                                      usaking73@gmail.com
      10 pinoy-channel.net         N/A             N/A                dramasmax@gmail.com
                                                                      pulssor@gmail.com
      11 pinoy-channel.org         N/A             N/A                tajumalhussain@gmail.com

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                                 Advertising                           Associated E-mail Addresses
    Def.        Subject           Service/             Account                      or
    No.       Domain Name         Platform             Identifier           PayPal Accounts
                                 Google
                                 AdSense,        ca-pub-               kathleengil224@gmail.com
      12 pinoychannelakos.com    Google LLC      2298926256267506      sakhani007@gmail.com
                                 Taboola                               kathleengil224@gmail.com
      12 pinoychannelakos.com    Taboola, Inc.   pinoychannelsa        sakhani007@gmail.com
                                 Taboola
      12 pinoychanneltv.su       Taboola, Inc.   pinoychannelsa        koreamitti@gmail.com


                                                                       pinoychannelhd01@gmail.com
                                 Google                                i2@pinoychannelhd.org
                                 AdSense,        ca-pub-               info@pinoychannelhd.org
      13 pinoychannelhd.org      Google LLC      5596466939348794      itwebs92@gmail.com
         pinoychannelreplay.co
      14 m                       N/A             N/A                   fredrickaimee8@gmail.com
                                 popads.net,
                                 Tomksoft
      15 pinoymoviepedia.co      S.A.            pinoymoviepedia.co    N/A
                                 AdsKeeper
                                 Hardware
                                 Solution        pinoymoviepedia.co.
      15 pinoymoviepedia.co      Limited         230790                N/A

                                                                       pinoytvpedia@gmail.com
      15 pinoymoviepedia.su      N/A             N/A                   geory.alderete03@gmail.com
                                 Google
         pinoytambayan.co.uk     AdSense,        ca-pub-
      16 (frames leli.online)    Google LLC      8448890421318552      sunnymughal4@gmail.com
                                 AdsKeeper
                                 Hardware
                                 Solution        pinoytambayanhd.su
      17 pinoytambayanhd.su      Limited         .196261               pinoymitti@gmail.com
                                 Google
                                 AdSense,        ca-pub-
      17 pinoytambayanhd.su      Google LLC      5577941333452405      pinoymitti@gmail.com
                                 Google
         pinoyteleseryetambaya   AdSense,        ca-pub-
      18 n.com                   Google LLC      8363670849262616      cimstravel@yahoo.com
      19 pinoybay.su             N/A             N/A                   vhungcc.kd@gmail.com
                                 Google
                                 AdSense,        ca-pub-
      19 pinoyofw.su             Google LLC      2519472165496145      vhungcc.kd@gmail.com


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                                   Advertising                          Associated E-mail Addresses
    Def.        Subject             Service/             Account                     or
    No.       Domain Name           Platform             Identifier          PayPal Accounts


                                                                        aldrinegathercole.ag@gmail.co
                                                                        m
                                                                        jenny_ysl@yahoo.com
                                                                        mjcalip161993@yahoo.com
                                                                        nipsjbc17@gmail.com
                                                                        pamancherry@gmail.com
                                                                        pasiafanene1@hotmail.com
                                                                        regina_biglete@yahoo.com
                                                                        umie0620@i.softbank.jp
                                                                        vhungcc.kd@gmail.com
                                   mgid.com,                            vhungcc1@gmail.com
                                   MGID Inc.                            vuonghuy2910@gmail.com
      19 pinoytva.su               MGID UA         pinoytva.su.208082   zeejhayzantiago@yahoo.con
      20 pinoytvhdreplay.me        N/A             N/A                  zaibi@outlook.com

                                                                        herpalherpal@gmail.com
                                                                        dramasmax@gmail.com
                                                                        pinoytvreplayph.comtns@gmail
         pinoytvreplayph.com       Google                               .com
         (frames                   DoubleClick     div-gpt-ad-          pinoytvreplayph.nettns@gmail.
      21 fullreplayepisodes.net)   Google LLC      1523694451701-0      com

                                                                        rehmatkhan786123@gmail.com
      22 pinoytvs.com              N/A             N/A                  waseykhan86@gmail.com

                                                                        ramzannawaz13@gmail.com
                                   mgid.com,                            contact.pinoytvshows@gmail.c
                                   MGID Inc.       pinoytvshows.me.13   om
      23 pinoytvshows.me           MGID UA         0763                 zemtoday4@gmail.com

                                                                        ramzannawaz13@gmail.com
                                   Google                               contact.pinoytvshows@gmail.c
                                   AdSense,        ca-pub-              om
      23 pinoytvshows.me           Google LLC      8030535002616458     zemtoday4@gmail.com
                                   Taboola                              multantotaunsa@gmail.com
      24 pinoytvshows.mobi         Taboola, Inc.   pinoychannelsa       kathleengil224@gmail.com
                                   Google
                                   AdSense,        ca-pub-              contact.desitashan@gmail.com
      25 tagalogshows.com          Google LLC      9431595196029395     seanpenn2212@yahoo.com
      26 teleseryeph.com           N/A             N/A                  jepoyccr@gmail.com
                                   Google
                                   AdSense,        ca-pub-
      27 yonipzone.online          Google LLC      4797266658649202     rhayedelante@gmail.com

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                                Advertising                           Associated E-mail Addresses
    Def.       Subject           Service/             Account                      or
    No.      Domain Name         Platform             Identifier           PayPal Accounts
                                mgid.com,
                                MGID Inc.
      27 yonipzone.online       MGID UA         yonipzone.co.55555    rhayedelante@gmail.com
                                AdsKeeper
                                Hardware
                                Solution        yonipzone.rocks.189
      27 yonipzone.online       Limited         572                   rhayedelante@gmail.com

                                                                      apnapakforum@gmail.com
                                                                      josephmcewan2014@gmail.co
                                                                      m
                                                                      pinoytambayanhd@outlook.co
      28 pinoytambayanhd.me     N/A             N/A                   m
                                                                      apnapakforum@gmail.com
         pinoytambayanreplay.                                         cloudflare@pinoytambayanrepl
      28 me                     N/A             N/A                   ay.me


                                                                      apnapakforum@gmail.com
                                                                      paktvsite@gmail.com
                                                                      atturrehman2200@gmail.com
      28 pinoytv.ae             N/A             N/A                   koreamitti@gmail.com
                                                                      apnapakforum@gmail.com
      28 pinoytv4u.com          N/A             N/A                   cloudflare@pinoytv4u.com
                                                                      apnapakforum@gmail.com
      28 thepinoychannel.me     N/A             N/A                   usmanbalochch@gmail.com
                                                                      dbjeet@gmail.com
      29 ika6nautos.com         N/A             N/A                   cloudflare@ika6nautos.com
                                Google                                dbjeet@gmail.com
                                AdSense,        ca-pub-               cloudflare@pinoychannelgma.c
      29 pinoychannelgma.com    Google LLC      1170649695620194      om
                                Google
         pinoytambayanlambing   AdSense,        ca-pub-               dbjeet@gmail.com
      29 an.com                 Google LLC      2154317906897324      ameenkhantaunsvi@gmail.com

         pinoytambayanlambing   Taboola                               dbjeet@gmail.com
      29 an.com                 Taboola, Inc.   pinoytvnetwork        ameenkhantaunsvi@gmail.com
                                Google
                                AdSense,        ca-pub-               dbjeet@gmail.com
      29 pinoytvofw.com         Google LLC      1170649695620194      pinoytveu@outlook.com
                                Google
                                AdSense,        ca-pub-
      29 pinoytvofw.net         Google LLC      1170649695620194      dbjeet@gmail.com
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                                Advertising                          Associated E-mail Addresses
    Def.        Subject          Service/             Account                     or
    No.       Domain Name        Platform             Identifier          PayPal Accounts
                                Google
                                AdSense,        ca-pub-             dbjeet@gmail.com
      29 pinoytvvideo.com       Google LLC      3724261705287318    cloudflare@pinoytvvideo.com


                                                                    dbjeet@gmail.com
                                                                    paktvsite@gmail.com
      29 thepinoy1tv.net        N/A             N/A                 atturrehman2200@gmail.com

                                                                    dbjeet@gmail.com
      29 thepinoyflix.com       N/A             N/A                 cloudflare@thepinoyflix.com



      29 pinoy1tvs.com          N/A             N/A                 N/A
                                Google
                                AdSense,        ca-pub-             bilisdrama@mailinator.com
      30 bilisdrama.com         Google LLC      8516791451477759    vzani2014@gmail.com

                                                                    javirock906@gmail.com
      31 lambingan.ae           N/A             N/A                 mirfanpakhan1122@gmail.com
                                Google
                                AdSense,        ca-pub-             javirock906@gmail.com
      31 pinoylambingan.su      Google LLC      9390143748178411    brixtvofficial@gmail.com
                                Taboola         rock-               javirock906@gmail.com
      31 pinoylambingan.su      Taboola, Inc.   pinoylambingan      brixtvofficial@gmail.com
                                mgid.com,
                                MGID Inc.       pinoylambingan.su.1 javirock906@gmail.com
      31 pinoylambingan.su      MGID UA         99606               brixtvofficial@gmail.com
                                                                    koreamitti@gmail.com
      32 pinoychannelhd.su      N/A             N/A                 kathleengil224@gmail.com
                                Taboola
      32 pinoychannels.su       Taboola, Inc.   pinoychannelsa      koreamitti@gmail.com
                                Google
                                AdSense,        ca-pub-
      32 pinoychannels.su       Google LLC      5577941333452405    koreamitti@gmail.com
      33 pinoytambayantvs.com   N/A             N/A                 jamilchohan03@gmail.com




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